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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA

UNIVERSITY OF FLORIDA      )
RESEARCH FOUNDATION, INC., )
                           )
     Plaintiff,            )
                           )
vs.                        )                  C. A. No. 1:16-cv-00014-MW-GPJ
                           )
                           )
PHILIPS ELECTRONICS        )
NORTH AMERICA CORP.,       )
                           )
     Defendants.           )                  Jury Trial Demanded


                      JOINT NOTICE OF SETTLEMENT

      Pursuant to N.D. Fla. Loc. R. 16.2, Plaintiff University of Florida Research

Foundation (“Plaintiff”) and Defendants Koninklijke Philips N.V. and Philips

Electronics North America Corp. (“Defendants”) hereby report to the Court that

both parties have agreed to a settlement in this case.
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Dated: September 8, 2016          Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 8th day of September 2016, I

electronically filed the foregoing document with the Clerk of the Court using

CM/ECF.

                                      /s/ John D. Jopling
                                      John D. Jopling




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